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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                      )
                                               )
               Plaintiff,                      )       INTERSTATE AGREEMENT ON
                                               )       DETAINERS ORDER
       vs.                                     )
                                               )       Case No.: 1-18-cr-23
Ashley Patzner,                                )
                                               )
               Defendant.                      )


       On March 29, 2018, defendant made her initial appearance and was arraigned in the above-

entitled action. AUSA Jon O’Konek appeared on the Government’s behalf. Attorney Kent Morrow

was appointed to represent defendant in ths matter and appeared on defendant’s behalf.

       Prior to his initial appearance, defendant was incarcerated by the State of North Dakota at

the Women’s Department of Corrections and Rehabilitation facility in New England, North Dakota.

After the Indictment in this case was returned and an arrest warrant issued, a detainer was filed by

the United States with the North Dakota prison officials. Pursuant to the Interstate Agreement on

Detainers Act (“IADA”), defendant’s appearance before this court for her initial appearance and

arraignment was secured by a writ of habeas corpus ad prosequendum.

       At her initial appearance and arraignment, defendant was advised of her rights under the

IADA to continued federal custody until the charges set forth in the Indictment are adjudicated and

waived those rights. Based on defendant’s waiver, the court finds she knowingly, voluntarily, and

upon advice of counsel waived the anti-shuttling provisions of the IADA in open court and agreed

to return to the custody of the State of North Dakota (the “sending state” under the IADA) pending

further proceedings in this case initiated by the United States (the “receiving state” under the IADA).


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Accordingly, the court ORDERS that defendant be housed in the “sending state” under the IADA

pending further proceedings or until further order of the court. Further, pursuant to defendant’s

waiver, the return of the defendant to his place of incarceration pending trial shall not be grounds

under the IADA for dismissal of the charges set forth in the Indictment.

       Dated this 29th day of March, 2018.


                                              /s/ Charles S. Miller, Jr.
                                              Charles S. Miller, Jr., Magistrate Judge
                                              United States District Court




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